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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 DAVID GIROUX, derivatively on behalf of
 ACER THERAPEUTICS, INC.

                        Plaintiff,
                                                    Case No. 1:20-cv-10537-GAO
           v.

 JASON AMELLO, STEVE ASELAGE,
 HUBERT BIRNER, JOHN M. DUNN,
 MICHELLE GRIFFIN, LUC MARENGERE,
 HARRY PALMIN, and CHRIS SCHELLING,

                        Defendants,

     and

 ACER THERAPEUTICS, INC.,

                        Nominal Defendant.


                        STIPULATION AND [PROPOSED] ORDER
                  REGARDING STAY OF CASE PENDING RESOLUTION OF
                MOTIONS TO DISMISS RELATED SECURITIES CLASS ACTION

       Plaintiff David Giroux (“Plaintiff”), derivatively on behalf of Acer Therapeutics, Inc.

(“Acer” or the “Company”), and Defendants Jason Amello, Steve Aselage, Hubert Birner, John

M. Dunn, Michelle Griffin, Luc Marengere, Harry Palmin, and Chris Schelling, (collectively

“Defendants” and, together with Plaintiff, the “Parties”) jointly submit this Stipulation to extend

Defendants’ time to respond to the Complaint in this action until after the decision on the motion

to dismiss in the related action captioned Skiadas v. Acer Therapeutics, Inc., et al., Case No. 1:19-

cv-06137 (the “Securities Class Action”) and stay this action during that period (the “Stipulation”),

and in support thereof state as follows:
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       WHEREAS, on July 1, 2019, the Securities Class Action was filed in the United States

District Court for the Southern District of New York alleging violations of the federal securities

laws against certain defendants named in the above-captioned action.

       WHEREAS, on July 2, 2019, the Securities Class Action was assigned to Judge Gregory

H. Woods;

       WHEREAS, on December 3, 2019, the lead plaintiff in the Securities Class Action filed

his First Amended Complaint;

       WHEREAS, on February 28, 2020, the lead plaintiff in the Securities Class Action filed

his Second Amended Complaint;

       WHEREAS, on March 17, 2020, Plaintiff filed this putative stockholder derivative action

(the “Action”) on behalf of Nominal Defendant Acer asserting claims for breach of fiduciary duty,

corporate waste, and violations of Section 14(a) of the Securities Exchange Act of 1934 against

Defendants;

       WHEREAS, on March 24, 2020, the court in the Securities Class Action set forth a briefing

schedule for any motions to dismiss, which is scheduled to be completed by May 29, 2020;

       WHEREAS, the parties agree that a stay of this Action pending resolution of the anticipated

motions to dismiss the Securities Class Action is appropriate because it will avoid inefficiencies

and duplicative efforts and will better preserve the resources of the Court and the Parties;

       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among the

parties hereto, by their undersigned counsel, subject to approval of the Court, as follows:

       1.      All discovery and deadlines in this Action shall be stayed until after a ruling on the

motion to dismiss in the Securities Class Action.




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       2.      Defendants hereby waive service of the complaint and any defense based upon

sufficiency of service of process; provided, however, that Defendants’ agreement to this stipulation

and acceptance of service shall not constitute a waiver of any other defense of any of the

Defendants to the claims in this Action, including but not limited to defenses based upon lack of

personal jurisdiction or subject matter jurisdiction, lack of standing, improper venue, or a

defendant having been improperly named.

       3.      A temporary stay of this Action pending resolution of any motions to dismiss in the

Securities Class Action is appropriate because it will avoid inefficiencies and duplicative effort

and will better preserve the resources of the Court and the parties.

       4.      The proceedings in this Action shall be stayed pending final resolution of all

motions to dismiss directed at the pleadings filed in the Securities Class Action. The stay shall

remain in effect until the later of (a) the final resolution of the pending motions to dismiss the

Securities Class Action or, (b) to the extent the complaint in the Securities Class Action is

amended, the final resolution of any motions to dismiss any such amended complaints in the

Securities Class Action (the “MTD Resolution Date”).

       5.      Plaintiff’s and Defendants’ agreement to this stipulation shall not prejudice in any

respect their right to seek or oppose a further stay of this Action or to move for or oppose a transfer

of venue, and Plaintiff shall not assert that any delay by Defendants in pursuing a further stay or

seeking transfer on account of this stipulation as a basis for denying such relief upon the expiration

of the stay contemplated herein.

       6.      Unless the Parties agree otherwise, Plaintiff shall have sixty (60) days from the

MTD Resolution Date to file an amended complaint in this Action or otherwise designate an

operative complaint.




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       7.      The Parties shall have ninety (90) days from the MTD Resolution Date to negotiate

a briefing schedule to govern defendants’ deadline to answer, move, or otherwise respond to the

operative complaint in this Action, and any responses and replies in relation thereto.

       8.      Notwithstanding the voluntary stay of this Action, Plaintiff may file an amended

complaint during the pendency of the stay. Defendants shall not be required to move, answer,

plead, or otherwise respond to the complaint or any amended complaint during the pendency of

the stay of proceedings.

       9.      The Parties agree that while this Action is stayed, in the event that a mediation takes

place in regards to the Securities Class Action or any other factually related shareholder action,

Defendants will provide reasonable advance notice of, and in good faith consider inviting Plaintiffs

to any such mediation depending on the best interests of Defendants, the needs of the case, and

after soliciting the views of the plaintiffs in the Securities Class Action.

       10.     In the event Defendants provide any documents pursuant to a books and records

inspection demand to any holder or beneficial owner of Acer stock or in any factually related

derivative action (“Books and Records Production”), Defendants shall provide to Plaintiff as soon

as practicable copies of all such documents after Plaintiff provides to Defendants proof of

continuous and contemporaneous ownership by Plaintiff of Acer stock during the relevant time

period. Plaintiff acknowledges that his right to receive the documents described above is

contingent upon his execution of a confidentiality agreement governing the use and disclosure of

these materials that is substantially identical to the confidentiality agreement governing any such

Books and Records Production.

       11.     In the event any other stockholder derivative proceedings are initiated on behalf of

Acer in this District based on the same set of factual allegations as alleged in this Action, this stay




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shall not apply to any motions, stipulations, or any other related filings, pertaining to consolidation

of such actions and/or appointment of lead plaintiff(s) and lead and liaison counsel(s).



Dated: April 7, 2020                               Respectfully Submitted,


  /s/ Jamie A. Levitt                    s           /s/ Shannon L. Hopkins                    s
Jamie A. Levitt                                    Shannon L. Hopkins
MORRISON & FOERSTER LLP                            LEVI & KORSINSKY LLP
250 West 55th Street                               1111 Summer Street, Suite 403
New York, New York 10019                           Stamford, Connecticut 06905
(212) 468-8203                                     (203) 992-4523
jlevitt@mofo.com                                   shopkins@zlk.com

Attorneys for Defendants                           -and-

                                                   BRAGAR EAGEL & SQUIRE, P.C.
                                                   Melissa A. Fortunato
                                                   Garam Choe
                                                   885 Third A venue, Suite 3040
                                                   New York, New York 10022
                                                   (212) 355-4648
                                                   fortunato@bespc.com
                                                   choe@bespc.com

                                                   Attorneys for Plaintiff



IT IS SO ORDERED

DATED: _________, 2020
                                                   ___________________________________
                                                   HONORABLE GEORGE A. O’TOOLE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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